                                                      Case 1:22-mj-00113-RMM Document 5 Filed 05/26/22 Page 1 of 1
AO 442 (Rev. 11111) Arrest Warrant



                                                                          UNITED STATES DISTRICT COURT
                                                                                                                             for the

                                                                                                                  District of Columbia

                                United States of America
                                                                                                                                )      Case: 1 :22-mj-OO 113
                                                           v.
                                                                                                                                )      AsSigne(j to: Judge Meri','Jeather, Robi                f\_'1.
                                              Devin Steiner                                                                     )      Assign Date: 5/191'2022
                                                                                                                                )      Descriptio   : COMf"LAINT             VVl ARREST vVARRANT
                                                                                                                                )
                                                                                                                                )
                                                  Defendant


                                                                                                            ARREST WARRANT
To:               Any authorized law enforcement officer

                  YOU ARE COMMANDED                                                 to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)                             .•.      S te •.•.•io""e<.L.r
                                                              D.£ew.vJ...l
                                                                  ·n•..•....                                                                                                                            _
 who is accused of an offense or violation based on the following document filed with the court:

 o      Indictment                             o      Superseding Indictment                                            o Information       o   Superseding Information               11 Complaint
 o      Probation Violation Petition                                                o      Supervised Release Violation Petition                        o Violation    Notice         0 Order of the Court

 This offense is briefly described as follows:
 18   u.s.c.   § 1751(a)(I)(Entering     and Remaining       in a Restricted   Building     or Grounds)


 18 U.s.c.     § 1752(a)(2)(Disorderly      and Disruptive      Conduct   in a Resn'icted     Building    or Grounds)


 40 U.S.C. § 5104(e)(2)(C)(Disrupt          the Orderly    Conduct    or Official   Business)


 40 U.S.c.


 40 U.s.c.
               § 51 04(e)(2XD)(Disorderly


               § 5104(e)(2)(G)(Parade,
                                               Conduct


                                            Demonstrate,
                                                           in a Capitol   Building)


                                                             or Picket in a Capitol       Building)
                                                                                                                                                                       2022.05.19
                                                                                                                                                                       15:33:22 -04'00'
 Date:                       05/19/2022
                                                                                                                                                         Judge's signature


 City and state:                                                Washington, D.C.                                                         Robin M. Meriweather,          U.S. Magistrate       Judge
                                                                                                                                                           Printed name and title


                                                                                                                             Return

                   This warrant was receiv~: on                                       (date)          _$'---&-1 (~q,1_1_(_~__       , and the person   was arrested on       (date)
 at    (city and state)                   ~Ab.
                                         __    Ott
                                           U1~~/~~--------


                                                                                                                                                        Arresting officer's signature



                                                                                                                                                           Printed name and title
